

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,891-01






EX PARTE THOMAS DALE FRACARO, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. F-98-0490-B IN THE 158TH DISTRICT COURT


FROM DENTON COUNTY






	Per curiam. Keller, P.J., concurred. 


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of driving while
intoxicated and sentenced to ten years' imprisonment.  The Second Court of Appeals affirmed his
conviction. Fracaro v. State, No. 02-99-109-CR (Tex. App.--Fort Worth Jul. 27, 2000)
(unpublished).

	Applicant contends that he is entitled to time credit for time he spent out of custody, on
appeal bond. He contends that this sentence should have discharged, but he was never notified of the
appellate decision, and was never served with the alias capias that followed mandate. 

	The State and trial court agree that Applicant was erroneously allowed to stay out on appeal
bond through no fault of his own and that he is entitled to time credit from the time mandate issued. 
The trial court determined that Applicant is entitled to relief.  Ex parte Thiles, 333 S.W.3d 148 (Tex.
Crim. App. 2011). 

	Relief is granted.  Applicant is to receive time credit in this cause from the time the mandate
issued in his appeal to the present. With the granting of this time credit, he has served this sentence
in full and shall be immediately discharged from custody.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division.


Delivered: October 23, 2013

Do not publish


